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      1                     IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
      2
             Civil Action No. 1:16-cv-03079-MSK-MJW
      3      ______________________________________________________

      4      ESTATE OF NATE CARRIGAN, JOHN CARRIGAN, MELISSA
             CARRIGAN and KOLBY MARTIN,
      5
             Plaintiffs,
      6
             v.
      7
             PARK COUNTY SHERIFF'S OFFICE, SHERIFF FRED WEGENER, in
      8      his official and individual capacity, and MARK
             HANCOCK, in his official and individual capacity,
      9
             Defendants.
     10      ______________________________________________________

     11      DEPOSITION OF: MARK HANCOCK - August 28, 2017
             ______________________________________________________
     12
                       PURSUANT TO NOTICE, the deposition of MARK
     13      HANCOCK was taken on behalf of the Plaintiffs at 501
             South Cherry Street, Suite 920, Denver, Colorado
     14      80246, on August 28, 2017, commencing at 10:00 a.m.,
             before Melanie L. Giamarco, Registered Professional
     15      Reporter, Certified Realtime Reporter, and Notary
             Public within Colorado.
     16

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                       Court Reporting, Legal Videography, and Videoconferencing
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                                                        37                                                             39
 1        Q. And for purposes of this deposition, what        1         A. If it's a SWAT mission, there would be a
 2   is an entry team in regards to your experience as SWAT   2    conga line or a line of officers that would go in
 3   commander?                                               3    after a breach, yes.
 4        A. What is a SWAT entry team?                       4         Q. Well, let me ask you specifically.
 5        Q. Yep.                                             5           Who taught you to use a, quote-unquote,
 6        A. It's a team of people that will do a             6    conga line to enter into a dwelling as a SWAT entry
 7   tactical either dynamic or slow entry into a residence   7    team?
 8   or a place that you're breaching.                        8         A. The FBI. The FBI SWAT, basic school.
 9        Q. And in the -- and I apologize if you may         9         Q. So switch gears a little bit here,
10   have answered this, but in regards to the 40 percent     10   Mr. Hancock.
11   of the times that you had to breach a residence, how     11          In regard to your career at Park County, is
12   often would you utilize an entry team in breaching a     12   it important to follow orders from superior officers?
13   dwelling?                                                13           MR MARKS: Object to the form of the
14            MR MARKS: Hold on.                              14   question.
15           Object to the form of the question.              15           MR. SCHIMBERG: Join.
16           Go ahead.                                        16        Q. Go ahead?
17            MR. SCHIMBERG: Join.                            17        A. Is it important to --
18        A. You would have personnel to go into the          18        Q. Follow orders from superior officers.
19   house each time. If you label that as a team, yes,       19        A. Yes.
20   it's a team, what we refer to as a conga line of         20        Q. Why?
21   officers that would go in, a line of officers that       21        A. Well, the only way that you wouldn't follow
22   would go in, once you breached.                          22   an order, in my opinion, would be if it was unethical,
23        Q. So every entry that you've been involved in      23   illegal or immoral, but I think it's important to -- a
24   as SWAT commander, it was always a conga line to get     24   paramilitary organization, that people follow orders
25   into the dwelling?                                       25   from a superior officer.

                                                        38                                                             40
 1       A. Yes.                                              1         Q. And you would agree that a subordinate
 2       Q. Okay. And is that something you were              2    officer, where they may disagree with an order from a
 3   trained on?                                              3    superior officer, as long as it's not unethical,
 4       A. Yes.                                              4    immoral or illegal, that subordinate officer has to
 5       Q. Who trained you to do this, quote-unquote,        5    follow that superior officer's order; is that correct?
 6   conga line?                                              6         A. That is not --
 7       A. FBI.                                              7            MR. SCHIMBERG: Objection to form.
 8       Q. Okay. So the FBI Academy, that was taught         8            MR. ELKUS: Hold on. Give us a chance to
 9   back in around 1999?                                     9    jump in.
10       A. Mm-hmm.                                           10           Same.
11       Q. Is that a yes?                                    11        Q. Go ahead.
12       A. Yes, it is.                                       12        A. That is not correct.
13       Q. And that's the last time that you received        13        Q. Why do you say that that's not correct?
14   training in regards to an entry team -- excuse me, a     14        A. Every officer, especially on SWAT, is --
15   SWAT entry team in breaching a dwelling?                 15   was trained in our agency to be a safety officer. And
16       A. When you say "training," what that means to       16   especially in SWAT, rank kind of goes out the door
17   me is, you know, by doing it. We've done it several      17   when you're actually doing a mission. Anyone could
18   times. We trained on how to do that. And when you        18   state that they don't feel right about something, and
19   say entering into a dwelling after a breach, that's      19   it'd be discussed, or they could change -- possibly
20   also a standard patrol tactic that you use on patrol.    20   change the way you're doing something.
21   So just about every officer that I had was trained on    21          So as to your question, they would have to
22   entering a residence after breaching a door.             22   absolutely follow an order, I would disagree with
23       Q. But through a, quote-unquote, using your          23   that.
24   version of -- excuse me, using your language of a        24        Q. Have you ever heard of an officer in charge
25   conga line?                                              25   for purposes of SWAT or a tactical operation? Have

                                                                                                      10 (Pages 37 to 40)

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                                                         53                                                           55
1         A. I've known Undersheriff Gore since he            1    heard on the news that he had been let go from the
2    started with the organization at the Sheriff's Office.   2    Sheriff's Office to ask if he was okay. And that's
3         Q. And when was that?                               3    the only contact I've had with him.
4         A. I'm not sure exactly when he started.            4        Q. So this phone call that you had, was that
5         Q. Were you working at the Sheriff's Office         5    with Undersheriff Gore?
6    before Undersheriff Gore was working at the office?      6        A. Yes.
7         A. Yes, I was.                                      7        Q. And do you recall when that phone call took
8         Q. And did you know Undersheriff Gore's             8    place?
9    law-enforcement background before coming to Park         9        A. I don't. I would say a few days after he
10   County?                                                  10   had been let go from the Sheriff's Office.
11        A. Not really. I know a little bit about it.        11       Q. Were you surprised that he was let go from
12   I think he worked at the Summit County Sheriff's         12   the Sheriff's Office?
13   Office.                                                  13       A. I wasn't surprised.
14        Q. And you may have answered this, but I want       14       Q. Why do you say that?
15   to make sure I've, again, closed the loop on this.       15           MR. SCHIMBERG: Object to form.
16          Prior to the Martin Wirth incident, how           16       A. I just wasn't surprised.
17   would you describe your relationship with                17       Q. I know, but why weren't you surprised? I
18   Undersheriff Gore?                                       18   mean, what was it that didn't surprise you?
19        A. Professional.                                    19       A. Well, I knew that the sheriff and him
20        Q. And after the Martin Wirth incident, how         20   didn't get along.
21   would you describe your relationship with                21       Q. Well, did they not get along because of the
22   Undersheriff Gore?                                       22   philosophic issues that you talked about earlier --
23           MR MARKS: Object to the form of the              23       A. Right.
24   question.                                                24       Q. -- or were there new issues that popped up
25          Go ahead.                                         25   that created animosity between the Sheriff and

                                                         54                                                           56
1        A. Yeah. There really was no relationship            1    Undersheriff Gore?
2    with him.                                                2            MR MARKS: Hold on.
3        Q. And what do you mean by that?                     3           Object to the form of the question;
4        A. Well, he left the agency shortly after.           4    foundation.
5        Q. Well, let me ask it differently.                  5           Go ahead.
6           I mean, do you regularly speak to                 6            MR. SCHIMBERG: Join.
7    Undersheriff Gore now?                                   7        A. There were no issues that I knew of other
8        A. I never speak to him.                             8    than the -- what I mentioned before.
9        Q. Would you categorize -- "categorize."             9        Q. So you say you weren't surprised.
10          Would you characterize your relationship          10          So did the Sheriff talk to you about why he
11   with Undersheriff Gore as friendly? As a friendship?     11   was terminating Undersheriff Gore's position with the
12       A. Now?                                              12   agency?
13       Q. Yeah.                                             13       A. No.
14       A. No.                                               14       Q. And in your phone call with
15       Q. Did you ever have a friendship with               15   Undersheriff Gore, please walk through for me the
16   Undersheriff Gore?                                       16   specific conversations you had with him.
17       A. Not a personal friendship. I had a working        17       A. I asked him how he's doing, and he said
18   friendship. We were friendly with each other, if         18   he's doing okay. And I asked him how his family was
19   that's what you mean.                                    19   and everything. He said they're doing okay. And then
20       Q. And when was the last time that you               20   he stated to me, "We shouldn't be talking. You could
21   interacted with Undersheriff Gore?                       21   get in trouble." And I said, "Okay. I understand."
22       A. Undersheriff Gore and Sergeant Tonjes came        22   And he said good-bye, and that was the extent of the
23   to my house right after the shooting for a short time,   23   conversation.
24   and I believe it was a day or two after. And then I      24       Q. Now, at the time that you were a captain at
25   made one phone call to Undersheriff Gore after I had     25   Park County, were you a subordinate to

                                                                                                     14 (Pages 53 to 56)

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                                                        57                                                             59
1    Undersheriff Gore?                                        1   If I could have that back. I apologize. I gave you
2        A. Yes.                                               2   the wrong one. This is not the right one. I
3        Q. And as a subordinate officer to                    3   apologize.
4    Undersheriff Gore, if the Undersheriff gave you a         4          (Discussion held off the record.)
5    lawful command, were you required to follow that          5          (Exhibit 15 was marked for identification.)
6    command?                                                  6       Q. Sorry. Now you've been handed a correct
7           MR MARKS: Object to the form of the                7   Exhibit 15. These are excerpts of Monte Gore's
8    question.                                                 8   deposition dated June 20th, 2017, okay, Mr. Hancock?
9           Go ahead.                                          9       A. Yes, sir.
10       A. Yes. I mean, I could -- there's times             10       Q. It's my understanding that you reviewed the
11   where he'd give me orders and commands and we would      11   entire deposition transcript of Undersheriff Gore; is
12   talk about it. But when we left his office, we were      12   that correct?
13   in agreement, yes.                                       13       A. I did not.
14       Q. Okay. Well, even if you were in a                 14       Q. Okay. Did you review any excerpts of
15   disagreement with Undersheriff Gore, if he gave you a    15   Undersheriff Gore's deposition?
16   direct order to do something, you were required to       16       A. A few. I skimmed over it.
17   follow it, correct?                                      17       Q. Well, I want to go through some of these
18       A. Yes, that's true.                                 18   pages with you.
19       Q. And if you failed to follow a direct order        19       A. Yes, sir.
20   of Undersheriff Gore, you may be insubordinate; is       20       Q. So let's turn to the first page. It's page
21   that fair to say?                                        21   81.
22          MR MARKS: Object to the form of the               22       A. Yes, sir.
23   question.                                                23       Q. And I'm going to read for you lines 7
24          MR. SCHIMBERG: Join.                              24   to 19. So these were questions:
25       A. I would have been insubordinate, yes.             25          "What was your specific conversation with

                                                        58                                                             60
1        Q. And for purposes of a tactical operation           1   Captain Hancock?"
2    within Park County, if Undersheriff Gore is giving you    2           "Approximately two weeks, two and a half
3    a lawful command in regards to a tactical operation,      3   weeks, prior to this operation being conducted, I had
4    you are required to follow that order; is that fair to    4   called Captain Hancock into my office and advised him
5    say?                                                      5   that I felt Wirth was a significant threat. Told him
6           MR MARKS: Object to the form of the                6   that during the operation, I wanted to be very clear
7    question.                                                 7   that I considered Wirth extremely dangerous. I felt
8           MR. SCHIMBERG: Join.                               8   he was homicidal and suicidal. I felt he wanted to
9        A. That's not the relationship I had with             9   commit suicide by cop and take as many officers with
10   Undersheriff Gore. He -- I can't remember him ever       10   him as he could. I directed Captain Hancock that
11   giving me a tactical order on anything. That really      11   under no circumstances whatsoever were they to enter
12   wasn't his area of expertise. Now, he would review my    12   Wirth's residence."
13   plans and would listen to what I would suggest. And      13          Do you see that?
14   99 percent of the time, he would agree and allow that    14       A. Yes, I do.
15   to occur. But my relationship with him wasn't -- he      15       Q. Do you recall the conversation
16   would give me administrative-type orders on schedule,    16   Undersheriff Gore had with you that Martin Wirth was a
17   scheduling and disciplinary things, but not on tactic.   17   significant threat?
18   That just wasn't his -- that's not something we did.     18           MR MARKS: Object to the form of the
19          MR. ELKUS: Okay. Let's look at that,              19   question.
20   then.                                                    20       A. I never had a conversation with him to this
21         (A document was marked as Exhibit 15.)             21   extent.
22       Q. I've just handed you what's been marked as        22       Q. So to what extent did you have a
23   Deposition Exhibit 15, okay, Mr. Hancock?                23   conversation with Undersheriff Gore in regards to
24       A. Yes, sir.                                         24   Martin Wirth?
25       Q. Now, these are excerpts of -- I'm sorry.          25       A. A couple of days prior to the eviction,

                                                                                                      15 (Pages 57 to 60)

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                                                        89                                                            91
1        Q. Yeah.                                              1   then, okay?
2        A. Yeah. Well, I did contact him that morning         2          What's the difference between having an
3    by phone. And he also had the radio and access to me      3   officer in charge on a SWAT operation versus having an
4    at any -- any point. If he had a plan in mind and I       4   officer in charge in a non-SWAT operation?
5    wasn't following it, he could have contacted me at any    5       A. Well, a SWAT operation includes different
6    time and asked what I was doing or ask me to give him     6   planning, different briefing, different intel and
7    a call, and I would have done that. And I never           7   different stuff we do. Generally, if you're a senior
8    disobeyed a direct order from him.                        8   officer and you're showing up to a domestic-violence
9        Q. So let me back up a little bit.                    9   call, you would be in charge by being the senior
10          You said that you did contact                     10   officer and you would -- so it's different in the
11   Undersheriff Gore by phone?                              11   amount of planning and stuff that you do.
12       A. Yes, briefly that morning to make sure he         12       Q. All right. But in this case, there was
13   was going over to Communications.                        13   planning involved in the operation of evicting
14       Q. So what was the specific conversation you         14   Mr. Wirth, right?
15   had with Undersheriff Gore?                              15       A. Yes, there was.
16       A. Just the time that we were going to do the        16       Q. More so than dealing with some type of
17   eviction.                                                17   domestic-violence case; would you agree with that?
18       Q. And that the Undersheriff was going to go         18       A. More so, yes.
19   to where?                                                19       Q. I mean, in this particular case, I mean,
20       A. Communications.                                   20   this is a person you felt was not that dangerous; is
21       Q. Why -- what was your understanding as to          21   that right?
22   why Undersheriff Gore was going to Communications,       22           MR. SCHIMBERG: Object to form.
23   then?                                                    23       Q. My -- well, tell me, at the time that you
24       A. Well, I told you, they were short-staffed,        24   were evicting Mr. Wirth, did you think that he posed a
25   and I was going to be on a tactical channel separate     25   threat to law-enforcement officers or to the public at

                                                        90                                                            92
1    from the initial channel, and I wanted someone            1   large?
2    listening and paying attention to that.                   2       A. As much as anyone that we would be evicting
3         Q. And that channel was op 5; is that right?         3   would pose a threat.
4         A. Ops 5, yes.                                       4       Q. Okay. So typically, you know, based on
5         Q. Do you understand that Undersheriff Gore          5   your tenure with Park County, how many officers are
6    was going to be on Ops 5?                                 6   needed to evict a person from their residence?
7         A. Well, I understood that he was going to be        7       A. One or two.
8    at Communications where you can hear all the channels.    8       Q. Okay. But that didn't happen in this case,
9         Q. Who was the officer in charge in regards to       9   right?
10   the operation of evicting Martin Wirth?                  10       A. It didn't.
11        A. Me.                                              11       Q. I mean, you had seven officers evicting
12        Q. And for purposes of the record, what does        12   Mr. Wirth, right?
13   it mean to be an officer in charge for a tactical        13       A. I did.
14   operation?                                               14       Q. And you had -- was it the Platte County
15        A. To oversee the operation and lend a plan         15   fire department on call?
16   and designate where officers are going to be and         16       A. Platte Canyon, yes.
17   assignments to officers in regard to the action that     17       Q. Platte Canyon.
18   we're going to take.                                     18       A. On standby.
19        Q. Let's turn to page 92.                           19       Q. So when you evict -- based on your tenure,
20        A. Can I back up a little?                          20   when you evict somebody from their home, do you
21        Q. Sure.                                            21   typically have Platte Canyon Fire and Rescue on call?
22        A. If you're saying officer in charge, you're       22       A. I don't.
23   saying of a SWAT operation or just a standard            23       Q. And you were the person who was in charge
24   operation? Because this was not a SWAT operation.        24   of the tactical operations, right?
25        Q. All right. So let's back up a little bit         25       A. Yes.

                                                                                                     23 (Pages 89 to 92)

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                                                         93                                                           95
1        Q. You made the decision to bring seven               1   And he had asked for help. And I had it available, so
2    sheriff's deputies and have Platte Canyon on call,        2   I utilized it.
3    right?                                                    3        Q. Did he ask for fire and rescue?
4        A. I did.                                             4        A. No.
5        Q. So a guy that you didn't think really posed        5        Q. Did he ask for seven sheriff's deputies?
6    a danger at all, you sort of beefed up the amount of      6        A. No, he didn't.
7    people you were going to be using to evict him, right?    7        Q. Okay. So you made the decision to bring
8           MR MARKS: Hold on.                                 8   seven sheriff's deputies to this eviction, correct?
9           Object to the form of the question.                9        A. Yes.
10          Go ahead and answer.                              10        Q. You made the decision to bring fire and
11       A. And I never said that I didn't view him as        11   rescue, correct?
12   dangerous at all. He was potentially dangerous, as       12        A. Mm-hmm.
13   everyone that you would evict would be, but that day I   13        Q. Is that a yes?
14   had resources, and Carrigan, Nate Carrigan, was          14        A. Yes, it is.
15   worried about doing this eviction and had asked for my   15        Q. Did Nate Carrigan say, "Hey, this guy's
16   help, and so I was lending him help.                     16   armed. We need to have fire and rescue"?
17       Q. Well, let's talk about that. Nate Carrigan        17        A. No.
18   asked for your help. Did Nate Carrigan say, "Hey,        18        Q. Okay.
19   Captain, we need seven deputies on this. We need fire    19        A. But you assume that everybody is armed.
20   and rescue"?                                             20        Q. Okay. So at this point, you were assuming,
21       A. No, he didn't say that.                           21   when you were evicting Wirth, that Martin Wirth is
22       Q. Who made that decision?                           22   armed?
23       A. I did.                                            23        A. You assume that everybody in Park County is
24       Q. So what assessment did you undergo to             24   armed, yes.
25   determine, "I need seven sheriff's deputies and fire     25        Q. Why do you make that assumption?

                                                         94                                                           96
1    and rescue on a call to evict someone that," in your      1       A. Just general knowledge and my experience of
2    opinion, didn't think was that dangerous?                 2   21 years there. I don't know of anybody living there
3        A. There's two parts to that. One is the              3   that isn't armed.
4    availability of those officers, which we rarely had,      4       Q. And let me back this up a little bit,
5    but this fell on a Wednesday when I happened to have      5   because I think you testified that you had the
6    those people readily available. And the other is he       6   manpower available, so with Park County, does the
7    was worried about this eviction.                          7   Platte Canyon Fire Department -- do they work under
8        Q. But I guess I'm missing the point -- I             8   the sheriff's department?
9    guess I'm missing this a little bit, Mr. Hancock,         9       A. They don't.
10   because -- so you have these people that are             10       Q. Okay. That's a separate entity. A
11   available?                                               11   separate agency, correct?
12       A. Mm-hmm.                                           12       A. It is, yes.
13       Q. Typically, you only need one to two people        13       Q. Okay. So every eviction that you've been
14   to do an eviction, so whether you had one to two         14   involved in, does Platte Canyon Fire and Rescue -- are
15   people available or seven to eight people available,     15   they staged at an eviction?
16   why did you make the decision to bring seven officers    16       A. No.
17   to an eviction and fire and rescue to evict Martin       17       Q. How many -- during your 21 years with Park
18   Wirth? Why did you ask specifically for that type of     18   County, how many times have you personally brought in
19   manpower?                                                19   or asked to be brought in a fire-and-rescue team to
20           MR MARKS: Object to the form of the              20   evict a person from their residence?
21   question.                                                21       A. Well, never, because they wouldn't evict
22          Go ahead.                                         22   anyone.
23       A. If you can, then you should. If you have          23       Q. Coming to --
24   the ability to do that, then you certainly should.       24       A. Being on standby?
25   And as I stated, Nate was worried about the eviction.    25       Q. Be on standby.

                                                                                                     24 (Pages 93 to 96)

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                                                         97                                                           99
 1       A. To evict someone?                                  1   and getting him out of the residence.
 2       Q. Yeah.                                              2       Q. I'm going to go back to Exhibit 15, the
 3       A. Never.                                             3   transcript. I'm looking at --
 4       Q. Except for the Wirth situation, right?             4       A. Page 92.
 5       A. Yes.                                               5       Q. -- page 92.
 6       Q. And so when Nate Carrigan says, "I don't           6       A. Okay.
 7   think this should be a SWAT operation," is that the       7       Q. Let's start with line 5, question: "Okay.
 8   only thing -- and he just says, "I have some concerns     8   During that six to eight weeks, are you having any
 9   with Martin Wirth," is that the only thing he told you    9   other communication with Captain Hancock or Sheriff
10   about Martin Wirth?                                      10   Wegener about this Wirth event as you are formulating
11       A. No. He mentioned, and I knew of, a case           11   your tactical plan?"
12   where he had threatened people in Jeffco and had come    12          Answer: "I know Captain Hancock was tasked
13   across, and Jeffco had asked for our assistance with     13   with the assignment to do a risk assessment and
14   locating him. He drove by, and our deputies followed     14   tactical plan for the operation during the course of
15   him to the residence. And there was a short              15   time. I wasn't sure -- once again, the date was
16   foot-chase, to my understanding. And he made some        16   somewhat up in the air prior to this. And the date
17   pretty bizarre statements, I was told. And so -- and     17   February 24 was eventually arrived at by, I believe,
18   Nathan had posted the notice, so I trusted in Nathan     18   Captain Hancock and I think Sergeant Tonjes had input
19   when he had concern about this eviction and asked for    19   into that, as well as others may have had input into
20   my help, that I'd give him resources that we had         20   that."
21   available at the time.                                   21          Question: "To your knowledge, if you know,
22       Q. So based on -- and we'll go through that in       22   who tasked Hancock with a risk assessment?"
23   a minute. I think the issue was the -- was it like a     23          Answer: "I did."
24   month earlier or several weeks earlier of the            24          Question: "Who tasked Hancock with a
25   eviction, Martin Wirth allegedly threatened some State   25   tactical plan?"

                                                         98                                                          100
 1   Farm insurance agent saying that he would go and shoot    1           Answer: "I did."
 2   the first cop he sees, or something to that effect?       2           So based on what I just read, is there
 3   Is that right?                                            3   anything that I read that you disagree with?
 4       A. Yes.                                               4       A. Well, he didn't task me with the risk
 5           MR MARKS: Object to the form of the               5   assessment or the tactical plan.
 6   question.                                                 6       Q. Is there anything else that I just read
 7       Q. You weren't involved in that specific              7   that you disagree, or that's it?
 8   operation?                                                8       A. I know that Sergeant Tonjes had prior
 9       A. No.                                                9   knowledge of the eviction and was working with
10       Q. But that was information you received from        10   Corporal Carrigan on when that was going to occur.
11   other sheriff's deputies within your organization?       11       Q. When what was going to occur?
12           MR MARKS: Object to the form of the              12       A. The eviction.
13   question, foundation.                                    13       Q. Did they communicate that to you?
14       A. Well, I was on duty when it happened, and I       14       A. When it was going to occur?
15   didn't respond to the scene, but yeah, I had heard       15       Q. Yeah.
16   from officers what had happened up there.                16       A. No, Corporal Carrigan did. Sergeant Tonjes
17       Q. So based on that incident, did that raise         17   didn't.
18   concern for you about the eviction of Martin Wirth?      18       Q. And how did Corporal Carrigan communicate
19       A. Yes.                                              19   when the eviction would occur?
20       Q. Okay. Why?                                        20       A. I believe it was -- it might have been the
21       A. I thought that what he wanted was to make a       21   Friday before or the Monday or Tuesday -- I believe
22   scene at his eviction as far as having maybe a           22   Monday, maybe, where he said, you know, that's the
23   neighbor record it as we're taking him off the           23   date that they're doing the eviction, and he could use
24   property and add to his claims of, you know,             24   some help with it. And I said, "I'll certainly help
25   government corruption and getting him out of the --      25   with it."

                                                                                                    25 (Pages 97 to 100)

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                                                       101                                                           103
 1       Q. Let's turn to page 93 of this exhibit, line        1   personnel to go in. It would have been to use gas to
 2   13, Question: "So it was such a risk that you didn't      2   force Mr. Wirth to come out."
 3   just let Hancock do his own assessment and his own        3          Do you see that?
 4   tactical plan, you took it upon yourself to do            4        A. Yes, I do.
 5   essentially those same two steps; is that fair?"          5           (Eden Rolland left the room.)
 6          Answer: "That would be fair. I wanted              6        Q. Now, is there anything that I just read
 7   Captain Hancock to have the understanding that this       7   that you disagree with?
 8   was extremely volatile, extremely dangerous, and          8        A. I do not disagree with that course of
 9   extremely high risk."                                     9   action because that was more or less my MO with
10          Question: "So you mentioned -- you already        10   dealing with barricaded-type people,
11   testified earlier -- that you believe Hancock arrived    11   Constitutionalists. And I had discussed on some
12   at your same risk assessment?"                           12   occasions that that was my philosophy with
13          Answer: "He did."                                 13   Undersheriff Gore of dealing with these kinds of
14          Is there anything that I just read that you       14   things, but as I stated, this conversation didn't
15   disagree with?                                           15   occur with him on the Martin Wirth eviction at all.
16       A. Yes, all of that. It's just not something         16        Q. All right. So let's back that up a little
17   he did. And as I told you, it's not a conversation       17   bit.
18   that we had.                                             18        A. Okay.
19       Q. Did you ever have a conversation with             19        Q. So I get it that you didn't have this
20   Undersheriff Gore in regards to any risk assessment of   20   conversation, so . . .
21   Martin Wirth concerning the eviction of Mr. Wirth?       21        A. I didn't.
22       A. I did not.                                        22        Q. But what was -- the part that you did agree
23       Q. Let's turn to page 110, please. And               23   with --
24   looking at line 21, question: "Okay. So let me back      24        A. In this?
25   up a little bit. Did you have an expectation -- you      25        Q. -- is that if Mr. Wirth -- and I understand

                                                       102                                                           104
 1   said in the very beginning of the deposition this was    1    that you didn't have this conversation with the
 2   going to be a SWAT operation; is that right?"            2    undersheriff. Let's just start off with that, okay?
 3          Answer: "That is correct."                        3           So in regards to at least the operation, at
 4          Question: "Did you have any role in               4    least what was going through your mind that you did
 5   selecting the members of the team or was that sort of    5    agree with, is that if Mr. Wirth did not leave the
 6   up to Captain Hancock?"                                  6    premises, you then, at least from a tactical-plan
 7          Answer: "That was going to be up to Captain       7    perspective, would have agreed with going back to
 8   Hancock, but because this was a two-phase operation      8    perimeter; is that right?
 9   where we're going to try to contact Mr. Wirth, get him   9            MR. SCHIMBERG: Form.
10   to leave the premises, with understanding that if he     10       Q. Go ahead.
11   didn't, they were supposed to fall back to perimeter,    11       A. That depends on how that went, how he acted
12   and then it became a full-fledged SWAT operation. And    12   or his actions. You know, if he'd have been standing
13   at that point, tactical officers would be utilized.      13   on the deck with a rifle, yes, to a perimeter and
14   And a tactical operation would be executed.              14   calling in SWAT and gassing him out of there would
15          "But I was not convinced that that was the        15   have been what I would have done.
16   proper course. I wanted to brief with Captain Hancock    16       Q. Because I think you said that -- and I
17   and have some time -- we have all of the time in the     17   guess, when we went over this, I said, what did you
18   world while we're on the perimeter -- to discuss         18   disagree with? You said you disagreed with the
19   options. And some of the options that I discussed        19   conversation you had with Undersheriff Gore, but you
20   with Captain Hancock were using gas at that time to      20   didn't agree with -- you didn't disagree with the
21   have Mr. Wirth leave the preparations. I wanted to       21   course of action being taken, particularly when you're
22   assess what equipment and officers we had to ensure      22   dealing with a Constitutionalist.
23   that we had trained officers if we decided to take a     23          Did I state that correctly?
24   tactical approach. A tactical approach, once again,      24       A. Yes.
25   would have been under no circumstances to use            25       Q. Okay. What is a Constitutionalist, in your

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1    appropriate than me objecting to the question.            1   think at that point in time, before kicking down the
2        A. No.                                                2   door and breaching the residence, that he could have
3        Q. I'm sorry. What was your answer?                   3   used those weapons on you and the other officers?
4        A. No.                                                4       A. I didn't think that, no.
5        Q. And did you have any intel on what the             5       Q. Looking back on this today, is that
6    elevation was at the Wirth residence before going out     6   something you think you should have been more
7    to the property itself?                                   7   precautious about?
8        A. I didn't.                                          8       A. No, not necessarily.
9        Q. Let's turn to page 140, please. Let's              9       Q. Is it your testimony today that you would
10   start at line 12 of page 140.                            10   have done anything different here today -- I'm sorry.
11       A. Yes, sir.                                         11   Let me ask it differently.
12       Q. Question: "Let's assume he has these              12       A. Knowing all the things I know now?
13   concerns he's articulating here. Was the order from      13       Q. Hold on. Let me ask it differently.
14   you to him to tactically retreat?                        14         Knowing everything you know today --
15          Answer: "Tactically withdraw."                    15       A. Yes.
16          Question: "Tactically withdraw?"                  16       Q. -- would you have done things differently?
17          Answer: "Yes."                                    17       A. Absolutely.
18          "And was Hancock insubordinate by not             18       Q. What would you have done differently?
19   following that order?"                                   19          MR MARKS: Object to the form of the
20          Answer: "Yes."                                    20   question.
21          Question: "Okay. Do you believe by not            21       A. It's --
22   following that order, essentially Hancock exposed the    22          MR. SCHIMBERG: Join.
23   members of the team to great danger?"                    23       A. What part?
24          Answer: "Yes."                                    24       Q. What part would you have done differently,
25          Question: "And what was that danger?"             25   looking back on this entire operation that you were

                                                       126                                                           128
1           Answer: "By not withdrawing to a safe              1   involved in?
2    location and breaching the door, you're going into the    2       A. Knowing everything I know today?
3    lion's lair and you exposed everybody to danger."         3       Q. Absolutely.
4           Question: "Were those dangers known to             4          MR. SCHIMBERG: Object to the form.
5    Hancock and articulated to you by Hancock?"               5          MR MARKS: Same.
6           Answer: "Yes."                                     6       A. There's so much to it.
7           So I want to talk about that very briefly.         7       Q. Why don't you tell me.
8    Is there anything there that you disagree with?           8       A. Knowing what I know today. That's a real
9         A. Yes.                                              9   hard question to answer because I didn't have that
10        Q. What do you disagree with?                       10   information. I'd have to run it through scenarios
11        A. The exposing everybody to danger and             11   and, you know, I'd have to see what your --
12   leading them into the lion's lair part.                  12       Q. Would you have breached the residence,
13        Q. Why do you disagree with that statement?         13   knowing what you know today?
14        A. I had no knowledge that, you know, we would      14       A. I don't know. I don't know how it would
15   be in danger or we would be going into the lion's        15   have turned out to that point.
16   lair. I didn't know that Martin Wirth was going to       16       Q. Well, let me ask you this: You have Martin
17   ambush us.                                               17   Wirth, right? You came up to the property -- we're
18        Q. Well, let's talk about that.                     18   going to go into the whole breach here in a minute,
19          I think you testified earlier that you            19   but you came up to the property with Mr. Carrigan.
20   assumed everybody's armed, correct?                      20   Mr. Carrigan talked to Mr. Wirth; he went back inside
21        A. Yes.                                             21   the residence, correct?
22        Q. Did you assume that Martin Wirth was armed       22       A. Yes, sir.
23   before you breached the residence?                       23       Q. Okay. Now, at that point in time, you
24        A. I assumed that he had weapons, most likely.      24   didn't know for sure whether he was armed, correct?
25        Q. Okay. And with that assumption, did you          25       A. I know that he was not armed.

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 1          Q. You knew he wasn't armed?                         1    our deputies if they've been inside the house.
 2          A. Yeah.                                             2        Q. Okay. Is that the only thing you asked?
 3          Q. I thought you said you assumed he was             3        A. Yes.
 4      armed.                                                   4        Q. Did you say, "Hey, what does the interior
 5          A. No, I assume that people have firearms.           5    look like," or you said, "Has anybody been inside the
 6      Are you talking about armed like on their person?        6    house"?
 7          Q. So you didn't know whether he specifically        7        A. "Has anybody been inside the house?"
 8      had weapons on his person at that point in time?         8        Q. That's it?
 9          A. I didn't see any weapons.                         9        A. Yes. Well, they said no, so . . .
10          Q. Okay. So before breaching a residence,            10       Q. Okay. So at that point, you have no
11      right, and we're talking about Mr. Wirth's property,     11   information of what the interior of that home looked
12      okay?                                                    12   like; is that fair to say?
13          A. Yes.                                              13       A. That's fair to say.
14          Q. Wouldn't the prudent course of action at          14       Q. So when you kicked down the door, you had
15      that point in time, instead of kicking down the door,    15   no idea of the layout of the interior of the house,
16      is to get more information in regards to the interior    16   correct?
17      of the house? Would you agree with that?                 17           MR MARKS: Object to --
18          A. No, not necessarily.                              18       A. That is --
19          Q. All right. So did you know the specific           19           MR MARKS: Hold on.
20      layout of the Wirth residence before you breached the    20          Object to the form of the question.
21      property?                                                21          Go ahead.
22          A. I didn't.                                         22       A. That is incorrect.
23          Q. Well, you're SWAT commander, right?               23       Q. So you knew the interior of the home as
24          A. I am.                                             24   soon as you kicked down the door?
25          Q. At least you were.                                25       A. I didn't say that. I said it's incorrect

                                                          130                                                          132
 1           A. Mm-hmm.                                          1    that -- what you're saying. What I said is you could
 2           Q. And part of training in SWAT command before      2    look through the window and I could see inside the
 3      you do an entry is that, to the best you can, figure     3    home.
 4      out the interior of the home. Do you understand that?    4        Q. Oh, so you saw the full view of everything,
 5           A. I understand what you're saying, and if          5    of every place Mr. Wirth could be inside in the home
 6      that's possible, yes, you would have that information.   6    by just looking through the window?
 7      You don't always have that information.                  7        A. No, not everything, but --
 8                                                               8        Q. Is that part of your tactical training,
             Q. Right, because sometimes you don't have the
 9                                                               9    just to look inside the window?
        time to get the information, right?
10                                                               10           MR. ELKUS: Before -- let me ask my
             A. Yes. And many -- and you talk of training
11                                                               11   question. You can object.
        with SWAT. They set up different kinds of scenarios
12                                                               12       Q. Let me ask you --
        based on your entry not knowing what's inside --
13                                                               13           MR MARKS: No, no, you interrupted his
             Q. That's right.
14                                                               14   prior answer.
             A. -- because -- and so just because a plan
15                                                               15       Q. Oh, I'm sorry. Finish -- is there anything
        says what's inside, it doesn't prevent one from
16                                                               16   else you want to finish with that?
        changing that plan and not notifying building and
17                                                               17           MR MARKS: He said "but," and then --
        zoning, or if they built the house themselves. You
18                                                               18       Q. Go ahead.
        just don't know on that, so the practice of training
                                                                 19           MR. MARKS: -- you hopped on the end.
19      is to make an entry a dynamic entry on whatever
                                                                 20       Q. I'm sorry. Didn't mean to interrupt you.
20      interior you may face. Is that --
                                                                 21   Go ahead, please.
21           Q. Well, let's back up a little bit.                22       A. You're stating that I looked through the
22             What research did you do to try to determine      23   window, and I didn't see the entire interior, but I
23      the interior of Mr. Wirth's residence before evicting    24   saw some of it through the window. And then you said
24      Mr. Wirth?                                               25   I didn't know at all. Well, we could see.
25           A. I didn't do any research. I did ask any of

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1            Q. Okay. So based on your SWAT training, is          1       Q. And this was an eviction where at least
2       the best way to understand the full layout of the         2   during your tenure you never had to use fire and
3       entire house you're about to breach is just to look       3   rescue before, right, up until Mr. Wirth?
4       inside a window? Is that your training?                   4       A. Right. Well, there was fire and rescue on
5            A. No. You know that's not --                        5   one incidence, but it wasn't our eviction.
6            Q. Well, I don't. I'm asking you.                    6       Q. A what eviction?
7            A. No, that's not part of the --                     7       A. It wasn't our eviction.
8            Q. I'm asking you. That's not your training,         8       Q. Oh, it wasn't your eviction.
9       is it?                                                    9       A. No. But, yeah, they've been to one other.
10           A. No, but your training is to adapt and            10   But as to your answer, no -- or answer -- I think I'm
11      overcome.                                                11   understanding, had I ever used fire and rescue before?
12           Q. Okay. But let me back it up a little bit.        12   No.
13             What is your training on the best way to          13       Q. Do you know whether or not Jefferson County
14      gain information of the interior of one's home before    14   Sheriff's Department has a robot they utilize for
15      you do an entry as SWAT to get into the residence?       15   SWAT?
16           A. The absolute best information --                 16       A. I don't.
17           Q. Yep.                                             17       Q. Did you make any inquiries with anybody
18           A. -- would be if I had a deputy that had been      18   within your agency as to whether or not Jefferson
19      inside that home.                                        19   County uses robots for entry teams?
20           Q. Okay. Did you have that?                         20       A. I didn't.
21           A. No, not there.                                   21       Q. Please turn to page 143, line 6. "And in
22           Q. I'm talking about the Wirth residence.           22   terms of the topography and the downhill tactical
23      That's the one we're talking about.                      23   withdrawal, is it your testimony that was well-known
24           A. No deputies at that -- that I had there had      24   to Hancock in advance of this incident on
25      been inside the home.                                    25   February 24th?"

                                                          134                                                           136
1           Q. Could have utilized a robot to get a better        1          Answer: "This is the first that I became
2       sense of what's inside the home, right?                   2   aware of any tactical uphill or downhill issues. Part
3           A. I couldn't have utilized a robot because I         3   of the responsibility of the SWAT commander would have
4       didn't have one.                                          4   been to not only do topographical photos of the
5           Q. So your department doesn't have a robot to         5   residence, do photos around the sides of the
6       utilize?                                                  6   residence, and to identify any of those issues prior
7           A. No.                                                7   to ever deploying or prior to ever taking a team up to
8           Q. Okay. So does Jefferson County?                    8   the residence."
9           A. I don't know.                                      9          Do you agree with that statement?
10          Q. Did you make any inquiry to the                   10       A. If you are dealing with a SWAT team and a
11      Undersheriff or the Sheriff or any sheriff's deputy in   11   SWAT-team entry, I agree that you would get as much
12      Park County in regard to the eviction of Mr. Wirth as    12   information as you could on it.
13      to whether or not you could have obtained a robot to     13       Q. Why do you need it for a SWAT-team entry?
14      determine the interior of Mr. Wirth's residence?         14       A. If it's a more formal -- formal thing, you
15          A. I did not.                                        15   have time and tactics and you have the time to gather
16          Q. Okay. So prior to doing the eviction              16   this information and have a briefing and practice what
17      itself, could you have inquired with Jeffco if you       17   you're getting into, and you can do those sorts of
18      could borrow their robot, if need be, for the purposes   18   things on a SWAT mission.
19      of evicting Mr. Wirth? Could you have done that?         19       Q. And when you say there when you have time,
20              MR MARKS: Object to foundation and form.         20   what do you mean by that?
21          A. I wouldn't have done that because it's an         21       A. If you have time, time and tactics. If you
22      eviction.                                                22   have time to do all this, then it is available to do
23          Q. Well, it's an eviction where you have seven       23   that.
24      deputies and fire and rescue staged, right?              24       Q. Was there enough time to do that for
25          A. It is, yes.                                       25   Mr. Wirth, the eviction of Mr. Wirth?

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1           Q. Well, what about a dwelling into a home,          1    through some trees. I don't know how far, but they
2       whether it's in City and County of Denver or in Park     2    had to cover some distance, but I don't know how far.
3       County when you do an entry? I'm not talking 2,300       3        Q. And at some point, was it a hundred yards?
4       square feet of mileage. I'm talking into a dwelling,     4    200 yards? Do you know?
5       into a home, whether that home is in Denver or that      5        A. I couldn't say.
6       home is in Park County, what is the standard uniform,    6        Q. But at the time, they were asked to breach
7       if you will, the protective gear a SWAT officer is to    7    the residence, right?
8       wear when they do an entry?                              8        A. Uh-huh.
9               MR. SCHIMBERG: Form.                             9        Q. They were pretty much there at the --
10              MR MARKS: Object to the form of the              10       A. Door.
11      question.                                                11       Q. -- at the front of the house, or the door?
12          A. I'm trying to explain that, first of all, I       12       A. Mm-hmm.
13      don't know what the standard operating procedures        13       Q. And backing up a little bit, talking about
14      anywhere else are. I can tell you that sometimes we      14   this sort of standard equipment that entry teams or
15      wore the heavy vest on entries and sometimes we          15   SWAT wears, when you do an entry, is it your
16      didn't.                                                  16   understanding that a sort of ballistic shield is
17          Q. So the ones where you did, what were the          17   utilized to enter a residence?
18      facts that were occurring at that instance that          18       A. On some cases, yes.
19      required, you know, more of the tactical wear, if you    19       Q. Okay. Not in every case?
20      will, or gear of a SWAT team?                            20       A. No.
21          A. I would say a high level of danger of a           21       Q. Okay. So what cases -- at least based on
22      shootout occurring, a high possibility of that and,      22   your training, based on your understanding, when is
23      again, how much -- how close I could get the team to     23   this ballistic shield utilized?
24      the residence where, you know -- because it's            24       A. Again, it's, can you get the -- is it a
25      dangerous crossing large distances with all that gear.   25   high probability of a shooting occurred? Are you

                                                          150                                                           152
1           Q. Well, in this particular case, was there a        1    going to use explosive devices to breach the door,
2       great deal of distance you had to cover in regards to    2    flash-bangs, things of that sort? And distance to the
3       where your officers were and the entry of Mr. Wirth's    3    door from the vehicles on bringing all that gear up.
4       residence?                                               4    We've done it both ways. We've had many times where
5           A. There was some distance, yes.                     5    we've taken the gear with us, and then we've had other
6           Q. What was the distance?                            6    times where it's decided that slows us down and it's
7           A. I don't know for sure. Just distance              7    just too much and we make entry without any of that.
8       through trees and snow.                                  8        Q. Was there a decision made not to bring this
9           Q. Are we talking -- go ahead.                       9    equipment to the Wirth eviction?
10          A. I don't know the exact distance.                  10       A. There was as far as Kolby and Travis asked
11          Q. Okay. So let's talk about the officers            11   me what type of gear should they wear, and I said,
12      that were present, okay?                                 12   "You can go soft cover or you can go however you feel
13          A. Yes.                                              13   comfortable." And they chose soft covers and their
14          Q. In regards to your location, Mr. Carrigan's       14   standard vest, I believe. Kolby might have had more
15      location, Mr. Martin's location, Mr. Threlkel's          15   stuff on. I'm not sure. But it was their decision as
16      location, what was the distance of those personnel in    16   to what they wore.
17      regards to where they originally were when they first    17       Q. Did you make any recommendations that they
18      got there on scene to where they ended up being          18   should bring the ballistic shield with them?
19      actually at the residence?                               19       A. I didn't.
20             MR MARKS: Object to the form of the               20       Q. Was there any conversations about bringing
21      question.                                                21   a ballistic shield to the Wirth eviction?
22             MR. SCHIMBERG: Join.                              22       A. There were questions as to should we bring
23          A. Shorter for me because I was in the               23   a shield? And the decision was made that the shield
24      driveway. For them, they parked up on a corner of the    24   we had at the substation at the time was a training
25      property up above and they had to cover some distance    25   shield and had been busted up from all the training,

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                                                          173                                                            175
 1           Q. Well, I'm sure like an armed suspect who         1    evicting a person that posed a high risk to officer
 2      has a gun pointed at ya, even in those instances,        2    safety and/or the public?
 3      yelling commands to put your weapon down is preferred    3        A. Yes.
 4      to just shooting someone, right?                         4        Q. Okay. Who?
 5           A. If you have time to do that, but if              5        A. Who?
 6      someone's pointing a gun at you, any circumstances       6        Q. Yeah. Who was that?
 7      I've seen, you're not going to have time to do that.     7        A. I can't remember for sure. I know the lady
 8      And if you took time to do that, you'd probably get      8    that lived across from Martin Wirth who had heartache
 9      shot.                                                    9    with the Sheriff's Office posed a risk, a risk to
10           Q. Sure, okay. But in circumstances like with       10   officers and public safety.
11      Martin Wirth, he wasn't pointing a gun at you guys       11       Q. How did she pose a risk to officers and the
12      initially when you first came to the property, right?    12   public?
13           A. No.                                              13       A. She made threats and stuff.
14           Q. And the first time, at least that you're         14       Q. What were the threats that she was making?
15      aware of, that he pointed a gun at your officer is       15       A. She wasn't going to go peacefully and she
16      when you guys breached the residence, correct?           16   was going to make a big deal out of it.
17           A. We were inside the house, yes.                   17       Q. And were you involved in that eviction?
18           Q. Inside the house, right.                         18       A. I did it, yes, by myself, actually.
19             And so with that respect in regards to            19       Q. Okay. And did she -- why did you go by
20      trying to resolve this peacefully, was -- I mean --      20   yourself as opposed to deploying seven officers and
21      and we looked at the plan, which was, you know, this     21   having a Platte Canyon Fire and Rescue staged?
22      Exhibit 6 where you had detailed where perimeters        22       A. This was after the Martin Wirth event.
23      would be. You put asterisks around, you know, who may    23       Q. Okay. But --
24      be breaching.                                            24       A. And I chose to do the evictions by myself
25             Was there anyone that was identified that         25   in the Bailey -- actually, I did them in Fairplay as

                                                          174                                                            176
 1      would be the focal point of trying to resolve this       1    well -- by myself just as a point of -- you know, I
 2      peacefully and try to get them out of the home?          2    felt comfortable that I could handle those situations
 3          A. Yes. Nate. Nate and myself.                       3    by myself.
 4          Q. So was there a plan put in place that if          4         Q. Well, why did that circumstance with this
 5      Mr. Wirth went back into the residence, that             5    lady who was -- was she making any overt threats to
 6      continually talking and trying to resolve this           6    law-enforcement officers?
 7      peacefully was the preferred tactic? Was that            7         A. Yes, mm-hmm.
 8      discussed?                                               8         Q. And why didn't you elect to bring seven
 9          A. There was no plan as to if he went back in        9    sheriff's deputies -- or multiple deputies out there,
10      the house. The plan was, wherever he was, that we        10   not necessarily seven, and stage fire and rescue in
11      could talk to him and get him to do it peacefully, and   11   that circumstance?
12      the best avenue to do that would be Nate Carrigan and    12        A. This was after --
13      myself.                                                  13        Q. No, I got -- I understand that.
14          Q. So when you say going back into the house         14        A. -- the event. And, you know, I didn't want
15      and try to resolve it peacefully and talk to him, was    15   to subject my guys to the possibility of this
16      there a period of time that you would give him to sort   16   happening again.
17      of talk it through to try to get him out, to try to      17        Q. So your thought -- I'm sorry. Go ahead.
18      see if you could resolve this peacefully? Was there      18        A. So I felt that I had the skills and the
19      like a timetable that you would allow that to happen     19   public knowledge of the public and be able to set up
20      before you would enter the residence?                    20   communications with them and figure out those things
21              MR MARKS: Object to the form of the              21   and work those problems out before we got on scene.
22      question.                                                22        Q. And when you said "set up communications,"
23          A. Not a specific time, no.                          23   what do you mean by that?
24          Q. And based on your tenure with Park County,        24        A. Calling them on the phone, stopping by
25      other than with Mr. Wirth, have you had to deal with     25   prior to, talking to them, saying that this is coming,

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                                                            177                                                           179
 1      getting a feel for how the thing was going to go.          1   Sheriff's Office do per year, physical evictions of
 2           Q. And to help de-escalate the person that was        2   removing the person from the residence?
 3      going to be the subject to the eviction?                   3       A. Per year --
 4           A. Yes.                                               4           MR. SCHIMBERG: Form and foundation.
 5           Q. And did that work peacefully for you?              5       A. Per year, I really couldn't say. I would
 6           A. Yes, it did.                                       6   say in the time when I was doing them by myself, it
 7           Q. And in regards to that tactic that you used        7   could be two or three a week.
 8      with this individual that you evicted by yourself, do      8       Q. Okay. So quite a bit?
 9      you feel that you learned from the Wirth residence --      9       A. Depending on the time of year, it seemed to
10      the Wirth eviction on how to handle this other            10   come and go. You know, some days you could have
11      eviction that happened subsequent to the Wirth            11   three, other Wednesdays you'd have none.
12      situation?                                                12       Q. And based on your experience with Park
13           A. Was there things that I learned from the          13   County and the number of evictions at least that you
14      Wirth eviction? There absolutely was.                     14   were doing personally, was there a potential that the
15           Q. What did you learn?                               15   Sheriff's Office would have to evict a person that
16           A. Again, to have more information about the         16   posed a high risk to officer safety and/or the public?
17      party, to run them through NCIC and to, you know,         17       A. Yes.
18      try -- I know there were some arguments with the banks    18           MR. SCHIMBERG: Form.
19      as far as they would want things to happen a certain      19       Q. Have you done any research -- and, again,
20      day, and I would assert myself in saying that, you        20   this is while you were employed with Park County.
21      know, "We'll make this happen when it's -- when it's      21          Did you do any research to determine what is
22      time for us."                                             22   the standard process or procedure for evicting a
23              And one individual, in particular, a veteran      23   person that posed a high risk to officer safety and/or
24      with PTSD, who I knew, I gave him an extra week to get    24   the public?
25      his stuff out. And he was appreciative. And it went       25           MR MARKS: Object to the form of the

                                                            178                                                           180
 1      peaceful as far as the eviction. But that's just how       1   question.
 2      I chose to deal with it from that point on.                2           MR. SCHIMBERG: Join.
 3             And after this event, a lot of things were          3       A. I didn't.
 4      happening and being said about how you should do           4       Q. And Mr. Hancock, again, while you were
 5      evictions, and should you SWAT on evictions, and how       5   employed with Park County, how often did you encounter
 6      the stuff was going to go. So I felt that I could,         6   individuals that you perceived to be mentally ill? In
 7      with the most experience with the public, could work       7   the public, I'm talking about.
 8      these out in a better way by myself.                       8       A. There were a few, yes. How many? I
 9          Q. And the one with the PTSD, did that happen          9   don't -- I couldn't tell you.
10      subsequent to the Wirth situation?                        10       Q. Well, was it on a regular basis that you
11          A. After.                                             11   would interact with people that were mentally ill, or
12          Q. After?                                             12   at least posed in your mind to have some form of
13          A. Yes.                                               13   mental illness?
14          Q. When did that happen? Do you recall?               14       A. Yeah, it's possible one a week.
15          A. I don't.                                           15       Q. And do you agree that mentally ill people
16          Q. Do you know the name of the individual that        16   that at least you came into contact with as a
17      you were evicting?                                        17   sheriff's deputy with Park County, they may pose a
18          A. I don't remember. He was in Berlin, Berlin         18   risk to law-enforcement officers?
19      subdivision, but . . .                                    19           MR MARKS: Object to the form of the
20          Q. What about the female? Do you remember her         20   question.
21      name?                                                     21           MR. SCHIMBERG: Join.
22          A. I don't.                                           22       A. They might. It's potential for risk, yes.
23          Q. And again, during your tenure, I'm not             23   Unpredictable.
24      going to ask you to give me the specific numbers, but     24       Q. And why do you say that mentally ill people
25      approximately how many evictions did Park County          25   have the potential of inflicting some form of safety

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 1      concerns upon a law-enforcement officer?                 1       A. Yes.
 2             MR MARKS: Object to the form of the               2       Q. Are you CIT trained?
 3      question.                                                3       A. I am not.
 4          A. Just my experience that mentally ill people       4       Q. And do you believe that CIT training
 5      can be unpredictable at times.                           5    provides a benefit for law enforcement agencies?
 6          Q. And have you encountered a mentally ill           6          MR. SCHIMBERG: Object to form and
 7      person that, in fact, posed a safety risk to you as a    7    foundation.
 8      law-enforcement officer of Park County?                  8       A. Do I believe it does?
 9          A. Yes.                                              9       Q. Yeah. Do you personally believe that it
10          Q. And prior to the Martin Wirth incident,           10   does?
11      what specific training did the Park County Sheriff's     11      A. I have think it's an avenue, yes.
12      Office provide to its deputies regarding identifying,    12      Q. What do you mean that "it's an avenue,
13      preventing and de-escalating persons who are             13   yes"?
14      experiencing mental health problems?                     14      A. It's something that can help with dealing
15             MR. SCHIMBERG: Form.                              15   with mentally ill people.
16          A. We had Mary Pat Bowen and the Victim's            16      Q. And during your tenure with the Park County
17      Advocate Office would occasionally do mental health --   17   Sheriff's Office and prior to February 24th, 2016, did
18      how to deal with the mentally ill courses, and usually   18   the Sheriff require that all officers of the Park
19      they would be at briefings and when we could fit the     19   County Sheriff's Office undergo CIT training?
20      training in.                                             20      A. No.
21          Q. And did you specifically have training on         21      Q. As of February 24th, 2016, do you know what
22      how to deal with mentally ill individuals and how        22   percentage of the Park County Sheriff's Office
23      to --                                                    23   deputies were CIT trained?
24          A. The Sheriff's Office, do you mean?                24      A. Deputies?
25          Q. Yeah. Did you personally, while you were          25      Q. Yeah. Deputies.

                                                          182                                                           184
 1      employed with the Park County -- sorry, while you were    1       A. I don't know of any. Maybe a detective
 2      employed with Park County Sheriff's Office --             2   that was a retired Denver police officer, Greg Jones.
 3          A. Yes. I've attended some of those, yes.             3   I believe he was CIT trained. Mary Pat and a couple
 4          Q. I want to make sure I close the loop on            4   of the victim's advocate ladies were, but I think
 5      this. The question's out there.                           5   that's the only person I know of.
 6             Did you specifically have training on              6       Q. Well, let's be clear. Mary Pat, she's not
 7      identifying, preventing and de-escalating persons who     7   a sheriff's deputy, right?
 8      are experiencing mental health problems?                  8       A. No. No.
 9          A. Yes.                                               9       Q. And this other detective, what's his name?
10          Q. And when was the last time that you had           10       A. Greg Jones.
11      that training with Park County?                          11       Q. Was he a sheriff's deputy as of
12                                                               12   February 24th, 2016?
            A. I couldn't tell you.
13                                                               13       A. Yes.
            Q. Did you have that training prior to the
14                                                               14       Q. Did you request that -- what was his last
        eviction of Martin Wirth?
15                                                               15   name? Jones?
            A. Yes.
16                                                               16       A. Jones, uh-huh.
            Q. And if you recall, what was the specific
17                                                               17       Q. Did you request that Mr. Jones be utilized
        training you received?
18                                                               18   in the eviction of Martin Wirth?
            A. Just basically understanding mentally ill
19                                                               19       A. No.
        people and, you know, utilizing some resources that
20                                                               20       Q. And why not?
        the state has, crisis line. And AspenPointe had
21
                                                                 21       A. He wasn't on -- I think he was on vacation.
        numbers that they give us. And we had cards, and you
22
                                                                 22       Q. Was he in the state of Colorado, do you
        could give those to people and get assistance with
                                                                 23   know?
23      dealing with those type of people.                       24       A. I don't know where he was.
24          Q. Now, have you ever heard of crisis                25       Q. What efforts did you make, if any at all,
25      intervention teams or CIT?

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                                                         185                                                           187
1       to staff a CIT-trained officer in the eviction of        1   correct?
2       Martin Wirth?                                            2       A. Yes, I was.
3           A. I didn't make any efforts at all.                 3       Q. And you were the captain of patrol at that
4           Q. Now, prior to February 24th, 2016, did you        4   point in time?
5       have any interactions with Martin Wirth?                 5       A. I was, yes.
6           A. No.                                               6       Q. And you do recall the specific incident on
7           Q. Did you know of Martin Wirth prior to             7   this date and time?
8       February 24th, 2016?                                     8       A. I heard it over the radio, yes.
9           A. Did I know of him?                                9       Q. So let's go through this, okay?
10          Q. Yes.                                             10         You look at the bottom right-hand corner,
11          A. Yes.                                             11   there's some numbers, we call those Bates numbers. Do
12          Q. And how did you know of him?                     12   you see that?
13          A. Based on the call I had mentioned to you in      13       A. Here?
14      Jefferson County and that -- that incident.             14       Q. Yep.
15          Q. Did Martin Wirth have a reputation within        15       A. Yes.
16      the Park County Sheriff's Office prior to               16       Q. Where it says "PCSO" and then like a 00
17      February 24th, 2016?                                    17   then it goes 1003, if you could turn to 1003. Are you
18             MR. SCHIMBERG: Form and foundation.              18   there?
19             MR MARKS: Object to foundation.                  19       A. Yes.
20          A. What kind of --                                  20       Q. Okay. Now, looking under the fourth
21          Q. Did he have a reputation? I don't know           21   paragraph --
22      what that could be. Did he have any reputation within   22       A. Yes.
23      the Park County Sheriff's Office?                       23       Q. -- and five lines down where it says, "As
24          A. Not to my knowledge.                             24   Wirth was walking out," do you see that? It says, "As
25             MR. SCHIMBERG: Foundation.                       25   Wirth was walking out, he stated he was going to get a

                                                         186                                                           188
1           Q. Please turn to Exhibit 4 in the notebook in       1   gun and shoot the first cop he sees."
2       front of you, sir. Have you ever seen this document      2          Do you see that?
3       before?                                                  3       A. I'm looking. Oh, yes. Uh-huh.
4           A. Yes.                                              4       Q. And at the time of this incident on
5           Q. What is this document?                            5   January 20th, 2016, were you made aware that that was
6           A. It's a police report, offense report, on          6   the threat that Mr. Wirth was making towards
7       the incident I was talking to you about in Jefferson     7   law-enforcement officers?
8       County with Martin Wirth.                                8       A. No.
9           Q. And when did you first see this document?         9       Q. When did you first become aware of that
10          A. In the binder that I -- or it was given to       10   threat?
11      me by attorneys, my attorneys.                          11       A. I'm not really sure when I became aware of
12          Q. All right. I obviously don't want you to         12   that threat.
13      go into any conversation you had with legal counsel,    13       Q. But you knew that prior to February 24th,
14      but as of -- it looks like the date of this incident    14   2016; did you not?
15      was January 20th, 2016; is that correct?                15       A. Yes. Yes, I had heard that prior.
16          A. That's what the date says, yes.                  16       Q. And did you take this statement where
17          Q. And you were employed by the Park County         17   Mr. Wirth says shoot the first cop he sees -- would
18      Sheriff's Office at this time?                          18   you take that as a threat towards law enforcement?
19          A. Yes.                                             19       A. I would, yes.
20          Q. And you were a captain with the Park County      20       Q. Did it concern you, at the time you first
21      Sheriff's Office as of the date of this incident?       21   heard that, that Mr. Wirth was making such statements
22          A. I was, yes.                                      22   about law-enforcement officers?
23          Q. And I think you may have testified to this,      23       A. Yes. Yes. It concerned me.
24      so please correct me if I'm wrong, but you were on      24       Q. Why did that concern you?
25      shift at the time this incident took place; is that     25       A. Well, as it would any police officer when

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1           Q. And are there any changes you wish to make         1   interview? Did you understand that?
2       regarding what you told the critical incident issue       2       A. I did.
3       team?                                                     3       Q. Did you understand that you could have gone
4               MR MARKS: Hold on. Object to the form of          4   home, grabbed some sleep, come back and do the
5       the question. Go ahead.                                   5   interview? Did you understand that?
6           A. Yeah, it's my understanding that you can't         6       A. I was at home.
7       make --                                                   7       Q. Okay. You were at home? Okay. So they
8           Q. I'm sorry. Let me ask it -- let me say it          8   came to your home and interviewed you?
9       differently.                                              9       A. Yes, they did.
10             I'm not asking to change it, but is there         10       Q. Okay. At that point, did you say, "Look,
11      anything here in this, in your statement, that you       11   guys, I don't feel comfortable doing the interview
12      think was inaccurate of what you stated?                 12   right now. Let me get some sleep and then I can do
13          A. Inaccurate? No. I will say that, you              13   this another time"? Did you understand that you could
14      know, I hadn't had any sleep. I mentioned several        14   do that?
15      times that I'm fuzzy on stuff and can't remember         15       A. As a police officer, no. No, I didn't feel
16      accurately, so just to summarize, it's not a very good   16   I could do that.
17      interview.                                               17       Q. Okay. So they were compelling you to give
18          Q. What part was not a very good interview?          18   this statement?
19          A. There are parts where I kind of rambled on.       19       A. I wouldn't say that, but when you're
20      My thoughts weren't clear. You know, I was very          20   involved in an incident like this and CBI shows up,
21      upset. I was very tired. I hadn't slept in several       21   you're entitled to give them an interview. And I -- I
22      days. And hazy, I mention that. I was hazy in my         22   don't know. You said do I -- do I think that I had a
23      mind about it, so, you know -- but I pushed through it   23   chance to say, "No, I'll talk to you guys later?" Not
24      the best I could. And it's just not the best             24   necessarily, no, I don't.
25      interview.                                               25       Q. Were you Mirandized?

                                                          198                                                           200
 1                                                                1       A. I don't believe I was, no. I may have
            Q. Well, you understand this was not an
 2      internal affairs investigation, right? I'm talking        2   been.
 3      this interview with CBI. Did you understand that?         3       Q. Well, we've gone through this. We didn't
 4          A. Did I understand it wasn't --                      4   see any type of Miranda advisement, so do you believe
 5          Q. An internal affairs investigation, did you         5   you were Mirandized prior to giving this statement on
 6      understand that?                                          6   the record?
 7          A. I'm not sure -- I know it was an                   7       A. I would think that I would have been
 8      investigation, but could this information be used in      8   because it's concerning a criminal matter, yeah.
 9      an internal investigation? I think that it probably       9       Q. But you have no recollection of that; is
10      could, yeah.                                             10   that correct?
11          Q. That wasn't my question.                          11       A. Well, I'm just assuming that it happened,
12             My question is, did you understand that the       12   but I don't have a recollection of not only this, but
13      CBI interview was not an internal affairs                13   most of the interview.
14      investigation interview? Did you understand that?        14       Q. All right. Well, let's go through this
15          A. Probably not. I -- well, I did. Internal          15   interview, then, Mr. Hancock. Let's start with
16      investigation, I think, would be from my own internal    16   page 5. It's the top right-hand corner.
17      department, so no, I -- it was not an internal           17       A. Yes, sir.
18      affairs.                                                 18       Q. So starting at line 4, it says, "Captain
19          Q. Did you understand that this was --               19   Hancock. I've had attended the basic SWAT school put
20          A. Well, they said it's not.                         20   on by the FBI in '99 and I have attended team leader
21          Q. Right. Did you understand this was a              21   schools, a couple of those, commander school, one of
22      completely voluntary statement?                          22   those, and a couple of high-risk planning courses over
23          A. Yes.                                              23   my career, and there's probably tons of other training
24          Q. And did you understand that you did not           24   I've been doing"; do you see that?
25      have to give this statement on the date of this          25       A. Yes.

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                                                          205                                                           207
 1      that you created after the incident?                     1         A. Yes, I do.
 2          A. Yes.                                              2         Q. Why did you think that Mr. Wirth would
 3          Q. Did you provide those notes to your legal         3    become barricaded?
 4      counsel?                                                 4         A. I just thought in terms of being a squatter
 5          A. No, I didn't have legal counsel.                  5    and being in a place that he's not supposed to be and
 6          Q. All right. But I'm asking in regards to           6    knowing that an eviction would come that he could
 7      this litigation, did you provide those notes to legal    7    possibly barricade himself in there.
 8      counsel?                                                 8         Q. Did you think all -- let me back it up a
 9          A. No. I didn't have them.                           9    little bit.
10          Q. Do you still have those notes?                    10           Why did you say he was a squatter? Why did
11          A. No, I gave them to CBI.                           11   you say that?
12          Q. All right. So CBI, that's what -- the             12        A. He -- well, he wasn't a renter, and he
13      notes were given to CBI; is that correct?                13   wasn't -- he had no ownership to the house, so just a
14          A. They took the notes, yes.                         14   squatter, a trespasser. We have a lot of those up in
15          Q. Do you have any other notes that you've           15   Park County. They just come to a residence and start
16      taken in regard to this incident?                        16   living, so . . .
17          A. No.                                               17        Q. So do you think that -- and it sounds like
18          Q. Do you have a diary?                              18   you said there's a lot of squatters that you have in
19          A. No.                                               19
20
                                                                      Park County.
            Q. Did you ever have any type of journal             20        A. Yes.
21      entries or notes that you've created in regards to       21        Q. Do you think all the squatters in
22      this litigation?                                         22   lake [sic] county would barricaded?
23          A. No.                                               23        A. Park County.
24          Q. Let's turn to page 9, please. Are you             24        Q. I'm sorry. Park County.
25      there, sir? Page 9?                                      25        A. Would they be barricaded?

                                                          206                                                           208
1           A. Yes. Yes, sir.                                    1            MR. SCHIMBERG: Foundation.
2           Q. Starting on line 1, "I had either DJ or           2        A. If they thought that we were coming to get
3       Nate make a phone call to Platte Canyon Fire to have     3    them, it's a possibility, but I have no idea.
4       them staged"; do you see that?                           4        Q. And was there any information that you had
5           A. Yes, sir.                                         5    that led you to believe that Martin Wirth would be
6                                                                6    barricaded, or at least the possibility of being
            Q. So according to this statement, you were
7                                                                7    barricaded?
        the one that told D.J. or Nate Carrigan to call Platte
8                                                                8        A. No information that I had, no.
        Canyon Fire; do you see that?
9                                                                9        Q. And you said, "Based on the intel that I
            A. Yes, sir.
10                                                               10   had, I figured he may be physically combative."
            Q. So they didn't do that on their own.
11                                                               11          So what intel did you have that made you
        According to your statement, you told them to contact
12                                                               12   feel that Mr. Wirth would be physically combative?
        Platte Canyon Fire?
13                                                               13       A. The guys talking about -- or our deputy
            A. According to this statement.
14                                                               14   having to tackle him. And I think he claimed that one
            Q. Is this statement correct or incorrect?
15                                                               15   of his teeth -- tooth were knocked out and that he had
            A. The way I remember -- I remember it better
16                                                               16   been -- had a physical altercation with officers
        now, it's incorrect.
                                                                 17   before, so it's a possibility that he'd do that again.
17          Q. Okay. And when you say they were staged,
                                                                 18       Q. Did it concern you when you were going to
18      where was Platte Canyon Fire Department staged at        19   be doing this eviction that Mr. Wirth would be
19      least in regards to the eviction of Martin Wirth?        20   physically combative to your officers?
20          A. I don't know.                                     21       A. It didn't concern me, no.
21          Q. Let's look on line 11. You said here,             22       Q. Why not?
22      "Based on the intel that I had, I figured he may be      23       A. Because we're trained and equipped to
23      physically combative because that's all I'd had so       24   handle that. We do that all the time.
24      far. You know, there's a possibility I thought he        25       Q. And then you said, starting on line 19,
25      could become barricaded"; do you see that?

                                                                                                      52 (Pages 205 to 208)

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                                                           221                                                           223
1       do you see that?                                          1   you know about the prior eviction of Mr. Wirth?
2            A. Yes.                                              2       A. That he had been evicted in 2014,
3            Q. So the fact that the sheriff was leaving          3   peacefully. And again, this is after the event, so,
4       the county -- actually, let me back up just a little      4   you know, I'm listening to the news and I'm hearing
5       bit.                                                      5   things about Wirth.
6              Did you understand on February 24th, 2016,         6       Q. Well, did you think that your statement --
7       that as this operation was going down to evict Martin     7       A. After.
8       Wirth, there's Sheriff Wegener who was going to be        8       Q. -- where you say, "I heard a lot about him
9       leaving the county?                                       9   but I've never seen him before" -- was that based on
10           A. Yes.                                             10   things that you heard after the fact, or did you
11           Q. Because the Sheriff was leaving the county,      11   understand that you were -- the questions asked of you
12      do you understand at that point that the person in       12   was what you heard about Mr. Wirth prior to the
13      charge, at least at the Sheriff's Office, was            13   eviction?
14      Undersheriff Gore?                                       14           MR MARKS: Object to the form of the
15           A. Yes.                                             15   question.
16           Q. Now, so for all intents and purposes, I          16       A. I think it was a combination of both at
17      understand that Wegener's the sheriff, but when          17   that time.
18      Wegener's out of the office, the acting sheriff really   18       Q. Well, you talked about the January 20th,
19      was, at this time, Undersheriff Gore; is that right?     19   2016, incident, right?
20           A. That's correct.                                  20       A. Yes.
21           Q. Now, you stated, "I advised the                  21       Q. And you said you -- at least here you're
22      Undersheriff that I needed help to go to                 22   saying that you heard about his prior eviction.
23      Communications and monitor it."                          23       A. Mm-hmm.
24             Why did you want the Undersheriff to go to        24       Q. Did you hear that from the news or did you
25      Communications and monitor? What?                        25   know about Mr. Wirth's prior eviction based upon your

                                                           222                                                           224
1           A. The radio. The radio traffic.                      1   employment at Park County?
2           Q. Which radio traffic specifically?                  2       A. Based on my employment at Park County,
3           A. Ops 5. I've stated they were short of              3   yeah.
4       personnel, and so a communications officer would be       4       Q. Okay. And who told you about the prior
5       monitoring the regular channel and the Undersheriff       5   eviction regarding Martin Wirth?
6       would be listening on Ops 5.                              6       A. Who told me?
7           Q. Why did you want the Undersheriff to be the        7       Q. Yeah.
8       one monitoring Ops 5?                                     8       A. I'm not certain.
9           A. Well, I wanted him to be aware of what was         9       Q. Do you know why that came up?
10      going on and to have control over the situation if he    10       A. Because we were doing an eviction on him.
11      needed it.                                               11   I believe it was Dave Leffler, but I can't be certain
12          Q. Let's turn to page 12. So here, starting          12   on that.
13      on line 5, "...where I saw him talking to the guy on     13       Q. And do you recall what Mr. Leffler told you
14      the deck and I think he called him Mr. Wirth but I       14   about the prior eviction of Mr. Wirth?
15      didn't know this guy from Adam. I've never seen him      15       A. Just that -- I think my -- they told me
16      before. I've heard a lot about him but I've never        16   that, and my question was "Why is he there now?" And
17      seen him."                                               17   somebody, and I don't know who, said that there had
18             So in your interview with CBI, you said you       18   been a mistake made or a glitch with the bank process
19      heard a lot about Mr. Wirth. So tell me everything       19   and he had been allowed back in.
20      you heard about Mr. Wirth.                               20       Q. Now, starting on line 10, staying on
21          A. I've already told you what I had heard            21   page 12, you said, "Talked to him on the deck. He was
22      about him, the incident in Jefferson County and the --   22   leaning over the rail talking to Nate and then Nate
23      I don't know if I told you, the prior eviction, that     23   said, Mr. Wirth, you know, we're here to serve the
24      he had been evicted in 2014, I believe.                  24   eviction and I was still struggling to get up to Nate
25          Q. So you didn't tell me that. So what did           25   and then I heard him say something as he turned to the

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 1      effect of, you know, you're not even going to give me    1        Q. Did he give you any indication he was going
 2      time to move my stuff out and, you know, I wanted to     2    to shoot at you?
 3      say at the time of course we'll give you time to move    3        A. No.
 4      your stuff out, you know."                               4        Q. Right? Didn't make any overt threats to
 5             So I want to talk about that. So when Wirth       5    you at that point, right?
 6      stated, "You know, you're not even going to give me      6        A. No.
 7      time to move my stuff out," what was his demeanor like   7        Q. And so you then went up to the residence,
 8      when he said that?                                       8    to the front door, with Mr. Carrigan; is that correct?
 9          A. Leaning over the rail, looking down on us         9        A. Yes.
10      from the deck, and calm. Seemed calm.                    10       Q. And did you have a conversation with
11          Q. And then -- okay. So he wasn't -- in your         11   Mr. Wirth while he was inside the home?
12      mind, he wasn't agitated?                                12       A. No.
13          A. No.                                               13       Q. So did Nate have any conversation with
14          Q. Wasn't threatening?                               14   Mr. Wirth while he was inside the home?
15          A. Not at all.                                       15       A. No. We made announcements, "Come to the
16          Q. Okay. And then he went back into the house        16   door."
17      at that point in time?                                   17       Q. Okay. And were you making loud
18          A. He walked back into the house, yes.               18   announcements?
19          Q. Didn't slam the door?                             19       A. Yes.
20          A. No.                                               20       Q. What did you specifically state?
21          Q. Did you think he was threatening at that          21       A. I said, "Come to the door. Talk to us.
22      point in time?                                           22   Sheriff's Office. Eviction." And Nate said some
23          A. No, I didn't. I thought he was coming to          23   things. I think another officer said something as
24      the front door, actually.                                24   well.
25          Q. Well, okay. So let me understand. So he's         25       Q. And when you went up to the door with Nate,

                                                          226                                                           228
 1      on the -- when you -- when Nate was talking to him,      1    is that when the other officers came up to the door
 2      was Nate at the front door?                              2    next to you?
 3          A. No, we were down, outside in front of our         3         A. Shortly after that, yeah.
 4      vehicles looking up at the deck at him.                  4         Q. Was he threatening you at that point in
 5          Q. So that's when Mr. Wirth was out there on         5    time?
 6                                                               6         A. No.
        his deck?
 7                                                               7         Q. Did he say, "Get off my property"?
            A. Yes.
 8                                                               8         A. No.
            Q. And Nate was -- Nate was speaking to him
 9                                                               9         Q. Did Mr. Wirth say anything to you?
        from the car?
10                                                               10        A. Nothing.
            A. In front of the cars, yes.
11                                                               11        Q. Did he say, "I have a gun"?
            Q. In front of the car?
12                                                               12        A. No.
            A. Yes.
13                                                               13        Q. Did he say -- did you hear any movement in
            Q. Was he yelling up at him, talking to him?
14                                                               14   the house, like he was getting a gun?
            A. No, it was -- you could hear the
15                                                               15        A. No.
        conversation. It wasn't loud.
16                                                               16        Q. Did you look into the window to see what he
            Q. Okay. So Nate's talking to him. And
                                                                 17   was doing?
17      that's when Wirth says, You know, I can't believe
                                                                 18        A. I looked into the window of the door and
18      you're not going to give me time to move my stuff out?   19   couldn't see him.
19          A. Something to that --                              20        Q. When you say "looked into the window of the
20          Q. And then he walks back into his home,             21   door," so there was a door and there was a small
21      right?                                                   22   window?
22          A. Yes.                                              23        A. There were small windows, like kind of a
23          Q. And I think you testified, he wasn't              24   French window-type setup on the door.
24      threatening at that point, right?                        25        Q. And how big were these windows? Do you
25          A. No. No.

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                                                           229                                                         231
 1      recall?                                                   1        Q. Did he have a telephone?
 2          A. They were square.                                  2        A. I don't believe so.
 3          Q. Why don't you give me an approximate size,         3        Q. Do you know for a fact whether he had a
 4      if you remember. Was it like, 2-by-2?                     4   phone or not?
 5          A. Not that big, no.                                  5        A. I don't.
 6          Q. Okay. And was the entire door glass or was         6        Q. Did he make any inquiries as to other forms
 7      there just a small portion of the door that was glass?    7   of communications you could have made with Mr. Wirth
 8          A. Small portion.                                     8   during this exchange prior to breaching the residence?
 9          Q. Okay. So you were looking in the door?             9        A. Other than yelling through the door?
10          A. Mm-hmm.                                           10        Q. Yep.
11          Q. Could you see anything?                           11        A. No.
12          A. A kitchen, what looked to be a kitchen and        12        Q. And then you stated here, at least looking
13      some appliances.                                         13   at line 17 on page 12, "You know, that's why we're
14          Q. Did you have a clear view of the entire           14   here and he went back in the house and I started
15      inside of the home just looking through that door?       15   feeling real uncomfortable about that and I might have
16          A. No, I did not.                                    16   radioed in that he went back in his house."
17          Q. Just looking into that small glass portion        17          Do you see that?
18      of the door?                                             18        A. Yes.
19          A. No.                                               19        Q. Now, why did you feel uncomfortable when
20          Q. Did you go around and look? Was there,            20   Mr. Wirth went back into the house?
21      like, other windows you could look into the house?       21        A. Because I couldn't see him.
22          A. There were other windows.                         22        Q. Well, he wasn't threatening you, right?
23          Q. Did you look through those other windows?         23        A. Right.
24          A. No.                                               24        Q. He didn't seem angry with you when he went
25          Q. Did you direct any other sheriff's deputies       25   back into the home, right?

                                                           230                                                         232
 1      to look into those windows to give you a sense of         1       A. No.
 2      where he was?                                             2       Q. So what did he do other than not respond to
 3          A. No.                                                3   you through the door that made you feel real
 4          Q. So your instinct, though, was when you --          4   uncomfortable?
 5      according to you, after Mr. Wirth says, "You're not       5       A. It's not responding and I can't see him. I
 6      even going to give me time to move my stuff,"             6   don't know what he's doing.
 7      according to your statement, you stated, "You know, I     7       Q. And you don't know where he is in the
 8                                                                8   residence, right?
        wanted to say at the time of course we'll give you
 9                                                                9       A. And I don't know where he is.
        time to move your stuff out."
10                                                               10       Q. You don't know if he's armed or not, right?
              Did you actually say that to Mr. Wirth?
11                                                               11       A. I don't.
            A. No.
12                                                               12       Q. You don't know whether he's getting a
            Q. Did you have the opportunity to tell him
13                                                               13   firearm at that point in time, right?
        "Look, Mr. Wirth, you have the time to move your stuff
14                                                               14       A. I don't know that.
        out"? Did you have the opportunity to say that to him
15                                                               15       Q. When you say -- when you start feeling
        before breaching the residence?
16                                                               16   uncomfortable, did you feel that your life may be
               MR MARKS: Object to the form of the
17                                                               17   threatened at that point?
        question.
18                                                               18       A. No.
            Q. Did you have the -- let me --
                                                                 19       Q. Did you think the other officers' lives
19             MR. ELKUS: Can you read my question back,
                                                                 20   were being threatened at that point in time?
20      please?
                                                                 21       A. No.
21             (The last question was read back.)                22       Q. Or potentially in danger? Did you think
22          A. Did I have the opportunity? Yes.                  23   their lives were potentially in danger at this point
23          Q. And why didn't you say that to Mr. Wirth          24   in time?
24      before making the decision to breach the residence?      25       A. No.
25          A. Well, he wasn't coming to the door.

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                                                          233                                                            235
1              MR MARKS: Object to the form of the                1       A. Well, on some parts of it, my memory is
2       question.                                                 2   better now.
3            A. I didn't.                                         3       Q. Okay. Well, let's talk about this
4            Q. Now, when Mr. Wirth went back into the            4   particular issue, okay? Where you say, "I did tell
5       residence, you did not call Undersheriff Gore; is that    5   the four to get up next to the house," is that an
6       correct?                                                  6   accurate statement or not?
7            A. Not directly, no.                                 7       A. It's possible that I said that, but I -- I
8            Q. Did you contact him indirectly?                   8   told you, I don't remember.
9            A. Well, I think I said it on the radio.             9       Q. At least as you sit here today, you don't
10           Q. So what did you say? "Hey, he went into          10   remember that?
11      the house"?                                              11       A. Right. Are we to a point where I can take
12           A. Yes.                                             12   a break?
13           Q. And was that on Ops 5?                           13       Q. Do you need a break right now? We can take
14           A. That's the channel I was on, yes.                14   a break. Sure. That's fine. Take a break.
15           Q. Okay. So did you -- do you recall                15          (Recess taken from 4:08 p.m. until
16      specifically going on the radio and saying he went       16   4:21 p.m.)
17      back into the home?                                      17       Q. (By Mr. Elkus) Now, when you were at -- I
18           A. Yes.                                             18   think -- let me back this up a little bit,
19           Q. Now, starting on line 19, you stated, "I         19   Mr. Hancock, because I think you testified that, you
20      might have radioed in that he went back in his house."   20   know, when you were doing -- when you did an eviction,
21             So here, you don't definitively state that        21   you assume that the person being evicted is armed.
22      you did that, but today you do?                          22          Do you recall testifying something to that
23           A. Yes.                                             23   effect today?
24           Q. Then you say, "I can't remember but I did        24           MR MARKS: Object to the form of the
25      tell the four to get up next to the house as close as    25   question.

                                                          234                                                            236
1       we could to the house."                                   1           MR. SCHIMBERG: Join.
2              So according to this statement, you directed       2       A. Not on an eviction. I think what I said
3       officers to come to the house. They did not just come     3   was in Park County, every resident should be assumed
4       at their own volition. Do you see that?                   4   that they're armed.
5           A. Yes --                                             5       Q. Okay. I'm sorry. So you -- at least
6              MR MARKS: Object to the form of the                6   during your tenure with the Park County Sheriff's
7       question.                                                 7   Office, you assumed that every resident within the
8           A. -- I see it.                                       8   county is armed; is that right?
9           Q. So which one is it? Did you order them --          9       A. Possessed a firearm.
10      or excuse me.                                            10       Q. Possessed a firearm?
11             Did you tell these officers to come up to         11       A. Yeah.
12      the house or did they just come up at their own          12       Q. So when you were evicting Martin Wirth, did
13      volition when they saw you walk into the house?          13   you take the assumption that he was armed as you were
14          A. Yeah. And you're asking me to be                  14   evicting him?
15      absolutely clear on this, and I'm just not.              15       A. Just like anyone else in Park County, I
16          Q. Well, you know, this interview took place,        16   would think that he had a weapon, owned a weapon,
17      what is it, a day after the incident, right?             17   firearm.
18          A. Mm-hmm.                                           18       Q. Now, you testified that you were feeling
19          Q. Is that a yes?                                    19   really uncomfortable when Mr. Wirth went back into the
20          A. That's a yes.                                     20   residence. Do you recall that?
21          Q. Now, I understand that you've had time to         21       A. Yes.
22      think about this, but do you think your memory was       22       Q. So feeling uncomfortable, why not retreat
23      better the day after you did the interview or over a     23   and regroup on a -- regroup to a more tactically safe
24      year and a half after the interview? Which is better,    24   place, such as behind your patrol vehicles, when
25      your memory then or now?                                 25   Mr. Wirth went back into the residence? Why not do

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 1      that?                                                     1   people and getting them in custody.
 2              MR MARKS: Object to the form of the               2       Q. No, I understand that. I understand that.
 3      question.                                                 3         But, I mean, was your plan to take him into
 4          A. I thought he was coming to the door when he        4   custody?
 5      went back in the residence.                               5       A. If he was going to fight us, yes.
 6          Q. All right. And so --                               6       Q. Well, all those other circumstances that
 7          A. So I wanted to meet him at the door.               7   you were dealing with where you were coming into the
 8          Q. And so when you went up there, how long            8   home, were those evictions or were those individuals
 9      were you up there when you were asking him to come to     9   that were either high risk or that were -- there was
10      the door before making the decision to breach?           10   warrants or suspects?
11          A. I don't know the time.                            11       A. Different situations. A little of both.
12          Q. Was it, like, one minute? Two minutes?            12       Q. Were any of them evictions?
13      Ten minutes?                                             13       A. Where I went in --
14          A. I -- and I would get away from saying any         14       Q. Where you just breached the door, go in and
15      times, because if you asked me how long the whole        15   grab the person and bring them out of the house, were
16      thing lasts, I'd tell you three hours, but I know it     16   any of those evictions?
17      only lasted a few minutes. So I -- I don't really        17       A. I suppose there's probably a couple where
18      know the time, other than some time had passed when we   18   we went in the house. Now, whether we breached the
19      were asked -- yeah, making -- trying to get him at the   19   door or not, I -- I'm uncertain, but there's several
20      door.                                                    20   occasions where I've seen people, I've watched them go
21          Q. Now, were there sort of emergent                  21   back in their house, I've went in, they've tried to
22      situation -- well, let me ask it differently.            22   close doors on us, and I've just went in and not
23             I think you testified that he wasn't              23   necessarily take them into custody, but be close to
24      threatening you when he went back into the residence;    24   them to be able to control the situation.
25      is that right?                                           25       Q. All right. So in regards to this case, I

                                                          238                                                            240
 1           A. That's right.                                     1   think you testified that there was no emergency
 2           Q. His demeanor was calm, right?                     2   situation unfolding that demanded that you breach the
 3           A. Yes.                                              3   residence; is that true?
 4           Q. Even when he was -- even when you were            4       A. That is true other than the time passing in
 5      telling him to come out of the residence, he wasn't       5   my mind of I don't know what he's doing or where he's
 6      saying anything to you at that point, right?              6   at.
 7           A. No.                                               7       Q. Okay. So other than time passing, you
 8           Q. Assuming -- I think you were -- again,            8   would agree that -- I understand that preferred in
 9      like, most residents in Park County, I think you          9   your mind is to breach the residence and take control
10      testified that you assumed that he may have firearms     10   of the situation.
11      in the residence; is that correct?                       11       A. Yes.
12           A. That's correct.                                  12       Q. But did it occur to you, prior to breaching
13           Q. Now, with him not threatening you,               13   the door, that maybe the best option was to retreat,
14      potentially have an armed individual in there, there     14   go back behind your vehicles and gather a different
15      was no exigent circumstances that were creating, at      15   plan? Did that occur to you?
16      that point in time, to require -- or let me ask you      16       A. Did not occur to me.
17      differently -- there was no emergency situation          17       Q. Okay. Now, you do mention in your
18      occurring at that point in time to forcibly enter the    18   interview on line 22, you said, "He had a height
19      residence, right?                                        19   advantage and we went up the hill to the front, front
20              MR. SCHIMBERG: Form.                             20   of the thing so I'm kind of seeing Nate here parked
21              MR MARKS: Yeah, join.                            21   and me back down here, so up this was"; do you see
22           A. No immediate emergency, no, but in my mind,      22   that?
23      and I've stated, time had passed, and I was worried      23       A. Yes.
24      about what he's doing, where he's going. And I had       24       Q. So why did you mention that Mr. Wirth had a
25      had great success with speed at that point, getting to   25   height advantage?

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 1      question.                                                 1   car at that point where at least there was some level
 2          A. If -- well, in this case, we didn't know           2   of protection. You could have been in your car and
 3      that he was in there waiting to ambush us. I think if     3   tried to talk Mr. Wirth out from your vehicle. You
 4      you knew that he was going to ambush you, then, no,       4   could have done that; could you not?
 5      you wouldn't be super aggressive in going after him.      5          MR MARKS: Object to the form of the
 6          Q. And I guess that's part of the point,              6   question.
 7      Mr. Hancock, because at this point, other than talking    7       A. I could have done that, yes.
 8      through the window and he's nonresponsive, okay, you      8       Q. You didn't think about that at an option,
 9      didn't have a whole lot of information about where        9   did you?
10      Mr. Carrigan -- or, excuse me, where Mr. Wirth was in    10       A. I didn't do that, no.
11      the residence before breaching, right?                   11       Q. No, I know you didn't do it. Did you think
12          A. That's right.                                     12   about it as an option?
13          Q. You didn't have a whole lot of information        13       A. Not at the time, no.
14      as to what type of weaponry he had before entering       14       Q. Why didn't you think about that being the
15      that -- entering that dwelling; is that correct?         15   option to take other than kicking the door down?
16          A. I didn't.                                         16       A. Why didn't I?
17          Q. And there were options at your disposal           17       Q. Yeah. Didn't it come to you -- why didn't
18      that you could have utilized to find out more            18   you think like, "Do you know what? There may be other
19      information about Mr. Wirth while he was inside the      19   options here other than breaching"?
20      residence before breaching; isn't that true?             20          MR MARKS: Object to the form of the
21              MR MARKS: Object to the form of the              21   question.
22      question, and foundation.                                22          MR. SCHIMBERG: Form.
23             Go ahead.                                         23       A. I thought about getting in quickly, because
24          A. I didn't feel that way at the time, no.           24   I had had a lot of success with that, and getting him
25          Q. Well, you didn't think about it at the            25   under control and getting him out of there.

                                                          254                                                           256
 1      time, right?                                              1       Q. Now, with respect to kicking the door down
 2          A. Right.                                             2   and doing the breach, did you get a direct order from
 3          Q. You didn't think about retreating. You             3   the Sheriff to do that?
 4      didn't think about that, did you, before breaching?       4       A. I asked -- no. I asked permission, and he
 5          A. No.                                                5   said go.
 6          Q. You didn't think about trying to figure out        6       Q. Why were you asking permission from the
 7      some form of communication to talk to Mr. Wirth other     7   Sheriff to breach the residence?
 8      than through that small little window, right?             8       A. I had either seen or heard that he was on
 9          A. That's how we were trying to talk to him,          9   scene, and I -- I don't know. He could have been
10      yes.                                                     10   looking at something else, you know. And as with
11          Q. I know. But you didn't try or think about         11   other things that we had done, it's nice to have the
12      utilizing other -- some other form of communication to   12   Sheriff okay what you're doing.
13      talk to Mr. Wirth before breaching that home, right?     13       Q. But you were the officer in charge, right?
14          A. I didn't at that time, no.                        14       A. That's correct.
15          Q. Did you think, "Do you know what? Let me          15       Q. So why did you think you needed to get
16      go back. We could utilize" -- and actually, let me       16   permission from the Sheriff when you were the OIC?
17      back this up a little bit. Sorry. Let me clarify         17          MR. SCHIMBERG: Object to form.
18      this.                                                    18       A. Well, because he showed up on scene, or I
19             Did your vehicles have like a speaker             19   believe that he had shown up on scene. I had seen him
20      system?                                                  20   or heard him. And, you know, I wanted to check if he
21          A. Yes.                                              21   had other information or other ideas of what to do.
22          Q. Okay. Was that on your car?                       22       Q. Did he make any suggestions to you for
23          A. Yes. It should have been on all the patrol        23   other ideas?
24      cars.                                                    24       A. No.
25          Q. You certainly could have gone back to your        25       Q. And when you -- let me back this up.

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 1          A. Do I think if they knew that he was armed        1    most people in Park County are armed --
 2      inside the residence, would that be important? Yes.     2        A. Well, that they have weapons.
 3          Q. Okay. Why do you say yes?                        3        Q. Or that they have weapons, which means that
 4          A. That'd be good knowledge to have.                4    they're armed, right?
 5          Q. Did you believe that entering Mr. Wirth's        5           MR MARKS: Object to the form of the
 6      residence posed a hazardous environment for you and     6    question.
 7      your officers?                                          7        A. See, I --
 8          A. No, not at the time.                             8        Q. You don't agree with that?
 9          Q. Why do you say no?                               9        A. I don't agree with that. Armed -- and I
10          A. Well, I didn't believe that at the time. I       10   told you this before. Are you talking on you, a
11      thought we were going to go in and grab him quick.      11   holster, strapped with a strap holding it?
12          Q. But at that point, you didn't even know          12   Brandishing? What are you -- what do you mean by
13      where he was in the residence, right?                   13   "armed"?
14          A. That's right.                                    14       Q. Well, what we do know is Nate Carrigan was
15          Q. So for all you know, he could have been          15   armed.
16      held in some type of room that you weren't even aware   16       A. Yes, he had a sidearm.
17      of before breaching the residence, right?               17       Q. And did you know that he had an open carry?
18          A. That's possible.                                 18       A. No.
19          Q. I mean, for all you know, where you may not      19       Q. Well, you said you knew he had a sidearm.
20      have seen him fortify, you know, outside, he may have   20   So how do you know that?
21      been fortifying inside the home before you breached,    21       A. Who? Nate?
22      right?                                                  22       Q. I'm sorry. Did I say Nate Carrigan? I
23          A. That's possible, yeah.                           23   apologize. I apologize. I misspoke.
24          Q. Didn't think about that, though, did you?        24          Martin Wirth, did you know -- you knew that
25          A. No, I didn't encounter that.                     25   Martin Wirth was armed?

                                                          262                                                          264
 1         Q. No, what you encountered was Mr. Wirth            1        A. I didn't know that he was armed on him. I
 2     opening fire on you and your fellow deputies, right?     2    suspected that, he's a Park County resident, he
 3         A. That's right.                                     3    probably owns firearms.
 4         Q. So he put himself in a position where             4        Q. Did you ever do a search as to whether or
 5     tactically he was more at an advantage than you were     5    not he had a concealed-weapon permit?
 6     when you entered the residence; is that true?            6        A. No.
 7         A. I don't know where he was.                        7        Q. Did you ever -- subsequent to this event,
 8         Q. All right. Well, I mean, you know, you            8    did you ever look to see if Mr. Wirth had a
 9     were -- you were a SWAT commander. You were on SWAT      9    concealed-weapons permit?
10                                                              10       A. Didn't I just answer that? I said no.
       for a long period of time.
11                                                              11       Q. No, I thought -- did you know -- I'm sorry.
           A. That's right.
12                                                              12   Did I say prior, prior, did you ever do a search? I'm
           Q. So it sounds like, to me, when you wanted
13                                                              13   thinking prior to the eviction, did you ever do that?
       to breach and get the suspect or the individual, you
14                                                              14       A. No.
       want to do it quickly, grab the guy and get out.
15                                                              15       Q. And subsequent to the eviction, you didn't
       That's your MO, right?
16                                                              16   do that either?
           A. That's right.
17                                                              17       A. No.
           Q. But how do you go in and grab someone and
18                                                              18       Q. Okay. Now, I think what you testified is
       get them out quickly if you have no idea where they
19
                                                                19   that what you like doing is sort of just coming in and
       are in the home?
                                                                20   flooding the home with law enforcement to get the
20         A. You dynamically flood the room with
                                                                21   suspect. Did I state that correctly?
21     officers, and you work through the house as quickly as
                                                                22       A. Quickly.
22     possible until you contact them.
                                                                23       Q. How does that -- how does that not pose an
23         Q. Well, let's take that to its logical
                                                                24   officer safety issue?
24     conclusion. I mean, if this -- if you have no idea
                                                                25       A. We've done it many, many times. Officers
25     where this man is who is, to use your word, you think

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 1      are doing it right now. They enter homes and they         1   you're at the door, maybe you see someone running in,
 2      quickly take control of the rooms and the people that     2   maybe someone's sitting there telling you "Go away.
 3      are in them.                                              3   Don't come in," and time -- time is a problem for you,
 4           Q. Yeah, but do you know -- when you say             4   and you go through the door and you get on them to
 5      all -- there's officers that are doing it right now --    5   control the situation quickly. Or they come to the
 6           A. Yes.                                              6   door and say they're going to go get their gun, and
 7           Q. -- do you know whether those officers have        7   you follow them through the door and get them.
 8      tactical plans in place that know where the individual    8       Q. And that makes sense, because you now know
 9      may be in the home before they do that?                   9   where the suspect is, right?
10           A. No, I don't -- I wouldn't think they would.      10       A. Yes.
11           Q. Do you -- other than Park County Sheriff's       11       Q. You have a visual observation of where the
12      Office, do you actively go out, currently, and teach     12   suspect is, correct?
13      and train other officers on SWAT operations?             13       A. That's correct.
14           A. Do I now?                                        14       Q. But you don't have that in this situation
15           Q. Yeah.                                            15   with Martin Wirth because you had no idea where he is
16           A. No.                                              16   in the residence, right?
17           Q. And other than Park County, have you taught      17       A. I didn't.
18      other law-enforcement agencies within the state of       18       Q. And so for all you know, or for all you
19      Colorado about SWAT training and SWAT tactics? Have      19   knew at the time, he could have actually been
20      you done that?                                           20   fortifying himself within the residence to take your
21           A. I have, some in Colorado and some across         21   officers out, right?
22      the country, yes.                                        22       A. Or he could have been sitting in the chair
23           Q. And do you teach this technique where you,       23   in the living room.
24      without a full tactical plan in place, this kicking      24       Q. Did you see him?
25      down a door, flooding the area without knowing where     25       A. No.

                                                          266                                                            268
 1      the individual may be or having any knowledge of the      1        Q. Sitting in a chair in the living room?
 2      interior of the home, do you teach that?                  2        A. No, but you say he could have been
 3          A. I -- I don't, no. If you're talking SWAT,          3   fortifying. He could have been sitting there waiting
 4      that's different than patrol operations.                  4   for us.
 5          Q. All right. So this was a patrol operation,         5        Q. And the reality is you didn't even know
 6      right?                                                    6   where the living room was in relation to the small
 7          A. Yes.                                               7   little window you were looking at, right?
 8          Q. So in your mind, this patrol operation             8        A. That's right.
 9      should be viewed differently than a SWAT operation; is    9        Q. Because what you saw was the kitchen?
10      that fair to say?                                        10        A. Mm-hmm.
11          A. Yes.                                              11        Q. Is that a yes?
12          Q. So in your patrol operation, do you think         12        A. That's yes.
13      that it is prudent course of action to not know where    13        Q. How much time elapsed between Mr. Wirth
14      the individual may be in the residence, to breach a      14   going back into the residence and when you breached
15      residence and flood it and try to apprehend the          15   the door?
16      individual?                                              16        A. I told you before. I don't have a sense of
17          A. You're making it sound like that's every          17   the time.
18      situation, and it's just not.                            18        Q. Was it pretty quick?
19          Q. Okay. So what situations dictate that you         19        A. I don't know. It seemed like a long time,
20      should, in a patrol operation, kick down the door and    20   but I have no sense of time on that.
21      flood the home to try to find the suspect?               21        Q. Please turn to Exhibit 9 in front of you,
22          A. I don't know. It could be -- it could be          22   sir.
23      lots of different situations.                            23        A. Yes, sir.
24          Q. Can you give me some examples?                    24        Q. Have you ever seen this document before?
25          A. An example of when you would -- you know,         25        A. Yes, sir.

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     1                           REPORTER'S CERTIFICATE

     2      STATE OF COLORADO                 )
                                              ) ss.
     3      COUNTY OF DENVER                  )

     4                 I, MELANIE L. GIAMARCO, do hereby certify

     5      that I am a Registered Professional Reporter and

     6      Notary Public within the State of Colorado; that

     7      previous to the commencement of the examination, the

     8      deponent was duly sworn by me.

     9                 I further certify that this deposition was

    10      taken in machine shorthand by me at the time and place

    11      herein set forth, that it was thereafter reduced to

    12      typewritten form, and that the foregoing constitutes a

    13      true and correct transcript of the proceedings had.

    14                 I further certify that I am not employed by,

    15      related to, nor of counsel for any of the parties

    16      herein, nor otherwise interested in the result of the

    17      within litigation.

    18                 In witness whereof, I have affixed my

    19      signature this 7th day of September, 2017.

    20

    21

    22

    23

    24
            My commission expires: August 21, 2021.
    25      Notary ID: 20014025991

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